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                  Exhibit A
          (DD214 of Robert Morss)
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CAUTION: NOT TO BE USED FOR                                            THIS IS AN IMPORTANT RECORD.                                                                                               ANY ALTERATIONS IN SHADED AREAS
.__......_...._.                                                                SAFEGUARD IT.                                                                                                                   RENDER FORM VOID
                                            CERTIFICATE OF RELEASE OR DISCHARGE FROM ACTIVE DUTY
                                                    This Report Contains Information Subject to the Privacy Act of 1974, As Amended.
1. NAME(LiSt Fi*,'Middiej '                                         2. DEPARTMENT, COMPONENT AND BRANCH                           3. SOCIAL SECURITY -NUMBER
MOMS-, ROBERT- ABRAHAM-,                                             ARMY/RA
 4a.,'GRADE, RATE OR RANK -: b.- PAY GRADE                                              5. DATE OF BIRTH (YYYYMMDD)                                                 6. RESERVE OBLIGATION TERMINATION DATE
 SPC =                       E04- -                             '
                                                                                                                                                                                (YYYYMMDD)                                20181228
 7a. PLACE OF ENTRY INTO ACTIVE DUTY                                                    b. HOME OF RECORD AT TIME OF ENTRY (City and state, or complete address if known)
 SACRAMENTO, CALIFORNIA
                                                                                        329 SHELBY DR
                                                                                        SPARKS NEVADA 89436
 8a. LAST DUTY ASSIGNMENT AND MAJOR COMMAND                                                                                b. STATION WHERE SEPARATED
 020075INHHC HHC RANGER SP                                                                                                 JI3 LEWI S -MCCHORD , WA 98433 -9500

  9. COMMAND TO WHICH TRANSFERRED                                                                                                                                                                                    10. SGLI COVERAGE                                                                    I NONE
USAR CON GP             ( RE INF )                1600 SPEARHEAD DIVISION AVE, FT ICNOX ,                                                                           KY 40122                                               AMOUNT: $ 400,000.00
 11. PRIMARY SPECIALTY (List number, title and years and months in                                                         12. RECORD OF SERVICE                                                                          YEAR(S)                 MONTH(S)                                        DAY(S)
     specialty. List additional specialty numbers and titles involving periods of                                               a. DATE ENTERED AD THIS PERIOD                                                       - 203.1:T                     -           08                                         08     .


     one or more years.)                                                                                                        b. SEPARATION DATE THIS PERIOD                                                   .         2015 ,7                             12.                                        18
11C1P INDIRECT FIRE INFANTR - 4 YRS 0 MOS / /                                                                                   c. NET ACTIVE SERVICE THIS PERIOD                                                    -     0004                        ,   , 04                                       '11
NOTHING FOLLOWS                                                                                                                 d. TOTAL PRIOR ACTIVE SERVICE                                                          0040,                      ..         00                                           00
                                                                                                                                e. TOTAL PRIOR INACTIVE SERVICE                                                      4: 0000-, ).                            00; --                                       00,        ,

                                                                                                                                f. FOREIGN SERVICE                                                                      0000 ' ,                            ,09 -            -                            12
                                                                                                                                g. SEA SERVICE                                                                         '0000 - -, 00-                                                                     00
                                                                                                                                h. INITIAL ENTRY TRAINING                                                               0000      ' 04                                                                    25
                                                                                                                            i. EFFECTIVE DATE OF PAY GRADE                            -                              - 2013     -, 08                                                                     01
 13. DECORATIONS, MEDALS, BADGES, CITATIONS AND CAMPAIGN                                                                   14. MILITARY EDUCATION (Course title, number of weeks, and month and
     RIBBONS AWARDED OR AUTHORIZED (All periods of service)                                                                          year completed)
AFGHANISTAN CAMPAIGN MEDAL W/ CAMPAIGN STAR                                                                                AIRBORNE, 3 WEEKS, 2012//COMBATIVES LEVEL 1,
//ARMY ACHIEVEMENT MEDAL//ARMY GOOD CONDUCT                                                                                1 WEEK, 2013//COMBATIVES LEVEL 2, 2 WEEKS,
MEDAL//NATIONAL DEFENSE SERVICE MEDAL//                                                                                    2013//INDIRECT FIRE INFANTRYMAN, 6 WEEKS,
GLOBAL WAR ON TERRORISM SERVICE MEDAL//ARMY                                                                                2012//RANGER ASSESSMENT AND SELECTION
SERVICE RIBBON//NATO MEDAL//COMBAT                                                                                         PROGRAM 1, 8 WEEKS, 2012//NOTHING FOLLOWS
INFANTRYMAN BADGE//PARACHUTIST BADGE//
NOTHING FOLLOWS
 15a, COMMISSIONED THROUGH SERVICE ACADEMY                                                                                                                                                                                                                         YES                            X             NO

   b. COMMISSIONED THROUGH ROTC SCHOLARSHIP (10 USC Sec. 2107b)                                                                                                                                                                                                    YES                            X             NO

   c. ENLISTED UNDER LOAN REPAYMENT PROGRAM (10 USC Chap. 109) (/f Yes, years of commitment NA                                                                                                           )                                                         YES                            X             NO
                                                                                                                                                                                                                                         ....._
 16. DAYS ACCRUED LEAVE                                 17. MEMBER WAS PROVIDED COMPLETE DENTAL EXAMINATION AND ALL APPROPRIATE                                                                                                                                                               YES               NO
      PAID 0                                                DENTAL SERVICES AND TREATMENT WITHIN 90 DAYS PRIOR TO SEPARATION                                                                                                                                                                                     X
18REMARKS //1//////////W///////////////////////////////////////////////////i/.//////////////////////////////
SUBJECT TO,: ACTIVE DUTY -RECALL', 'MUSTER DUTY AND/OR -_-ANNUAL.. SCREENING//BLOCK--6;-'-PERIOD OF
DELAYED ENTRYI-PROGRALv1: -1 0101229-20110807 // ENLISTMENT ABONUS, PAID'1'2` TA 00100 ,,L '2011 osp at/
MEMBER HAS COMPLETED XFIRST ' FULL TERM OF, SERV10EP/ SEWED. IN' A' DESIGNATED. IMMINENT DANGER                                                                                                                                                                              .




PAY AREAL/SERVICE - IN `AFGHANISTAN FROM .201206277'.201210.241 20130512-20130904:.,
20140328-20140518//NOTHING FOLLOWS
                                                                                               - .-
                                                                                               "       '   - -       ,-     .   .,: - -            '     '.                                            - "- -                            ._
                                                                                                                                                                                                                                                                                 -




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 The informatiOriioritaihed herefnlie's°blect to computer rritefiing within the DepartMent Of Defense of with any other affected   ornon-Federal agancy for yenffceetin
 purposes and to determine eligibility fot, and/or continued compliance with, -the requirements of a Federa$.benefit program.- : -    '               -       -    -                                         '        s                   -                       --
 19a.- MAILING ADDRESS AFTERSEPARATION (Include ZIP Code),,' i--                          I3...NEAREST RELATIVE (Name and address - Include' ZIP Code) -

ill     KAREN. _DR -
IRWIN, PENNSYLVANIA 15642
                                -   -   _    _          -
                                                                                    .                                     ANDREW .MORSE"
                                                                                                                           111 KAREN DP: -
                                                                                                                          _IRWIN PENNSYLVANIA 15642'
                                                                                                                                                                    -       -    -
                                                                                                                                                                                                         ...s..

20.MEMBER REqUESTS cOPY6 BE SENT TO (Specify sfataflopalifk
                                                       '            °;-` OFFICE OF VETE,RANSAFFAIRS
 'a. MEMBER REQUESTS COPY 3 BE -SENT TO THE CENTRAL OFFICE OFJHEDEPARTMENT OF VETERANS AFFAIRS -V

;21.a,MEMBER;SIGNATUREi:                         ',.t       b. DATE, .,- ,_,
                                                                          -    '
                                                                                                                                 .         .




                                                                                    22.a.;,OFFICIALAU;TH,PRIZEDTO,SIGNYTyped name., grade) fftlei *nature)
                                                                                                                                                                                                                                  -X                           X        YES

                                                                                                                                                                                                                                                                        YES
                                                                                                                                                                                                                                                                             b. DATE.
                                                                                                                                                                                                                                                                                                                NO

                                                                                                                                                                                                                                                                                                                NO


ESIGNED ..BYt-r ):,,,,, i,' -               :.              =='&YYYMMDA9/!-                                                            'l .:' i--,- - ',.
                                                                                    E$,WNED BY' .7y;'.',!:. .Tt..1!,,,,:-1-7,67----- -',.                  '` TYYMMDD)                    -                  1:




MORSSi:JZOBERT-%,0-134Hm,r: -.9:120151030 -',, MWZAK.:WILLIAM',;TI, PEUS.R",,,10217172^12,5 itiriit                                                                                                                                                                                  aisa0 j. 0 ..
7632590 -' -'-'--      ' -
                        -   '    .  ,,
                                    '         _WILLIAM' T' MARCZAX`'3RGS07,, -LEAD IIRA -
                                                                --                                                                                                                                                                       '"                .r--        ..2.




                                                 ... SPECIAL ADDMONAL IN F,ORMATION (Fon/asithyalithortied agencies'orily),-                                                                                                                                                                               ,

23,TYPEOFSEPARATION- =                                                                                                    ---24;CHARAC-TER OF SERVICE-(/i-to/tide upgrades);                                                                               =                              .           .   - --
RELEASE PROM" ACTIVE:' -DUTY                                                            ,...       ,                      HONOR2-kBTA 7                 ,
                                                                                                                                                                    ,


                                                                                                                                                                                 -
                                                                                                                                                                                     ..




                                                                                                                                                                                                                               ' '' -         '                                       '
25. SEPARATIONAUTHORITY                                                                        t           --              26iSEPARATIONCODE - -- -,                                                                 27..REENTRY- CODE - ,                                                                  '

AR ,635-2 p 0 ;.- ,-CtiAP, ,4                                                                          -         1        1 ,q3k-..,      -'   '       ---2.-       ':. " -                        .                 1.,            ''



28. NARRATIVE REASON FOR SEPARATION                                                                                                                             -       -                     -                                 4;1           .                                           )

COMPLETION-dF4REQUIRED ACTIVE SERVICE
                                                                                                                                .--                                                                                  30.MEMBERREQUESTSCOFY4
29. DATES OF,TIME LOSTDURING'THIS PERIODIYYYYMMDD)                                                                                                              i                                       ,-
NONE                                                                                      ---.4

                                                                                                                                                                                                                           -(inittaIS) -RAM                              .                    -



DD FORM 214, AUG 2009                                                              PREVIOUS EDITION IS OBSOLETE.                                                                                                                                                       MEMBER - 4
                                                                                               GENERATED BY TRANSPROC
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                  Exhibit B
(Newspaper Article - Dec. 15, 2018)
         Case 1:21-cr-00040-TNM Document 89-1 Filed 07/14/21 Page 4 of 25




                                                                                                                                                                                                         Its U      Lvir
                C.




         A CHANG                                                                                                                           F FIELD
                Ex -military students t1.(111                                                                                              rom service to school
                     Bs laity Forryth                      A Cypriot soldier                                               In that point of time ...
                                                           Oa till Ober aide of the *mid                               something that no one re-
                                                         Eftbralou VIM -Wed War school                               take about."
      Once etadents turn their tassels at high writ dab! WM the          - the                                               he tell the army with.
    sebrol venation, many coast the dart army that fs.                                                              limy traumas. ERhyntiou ex -
    lea until coney roore-in.                    'Comfit gut of high school and                                          that
      Other students heansec are count*        tab the army  Mt  as bed as you'd                                   though not as stiessful as be
    darn the days anti they don a mastery becatneyeefes placed right Into It o                                             In   sail
    nrageen and train to serve lo the armedin,, hate to adapt no :natter what: Eft,                             difficult* esaelgete-
                                                thophomore-dhision of imderg;                                            thsh. people Insert.]
      Tan students Robert lions and Meant attaches, said                                                        goofedridcrstanding of why my
    EffhITinlu shined storks of that ennui.  Born and raised in Cyprus, a                                      Andes fluctuate -- where some
    bons from serning m the ereey directly located m the Mediterranean ER                                  idly! rm reek good and some
    after herb v'fe to big eel. tender                   was automatically emoted in the n
                                                                                                           y days rm really bad he said
    graduate 'too -vs at fl,nn State.                    be nine moons of mandatory bay!.
                                                                                                                      Just because rm              shrug
                                                         Mg as part of the country's atom              -

                                                                                                               ging to figure it out It's like
         Finding his psdoo                               poky which Impacts as males as.           .


                                                                                                           ,   have to start all over again."
                                                                                                                                                            I



      A I7 year old R~. Moths asked his
    'Mud yet tcri,fied" parents to ohm the   Saxe roe of his brothers sem,                                        Though he has not person -
    eaner Nat woos anow Min to must in the dated tour Efthymiou was abbe                                              used many of the resources
    Army as a Milt,                        mu the entire nine moats                                            !!en State     offers, Efthymiou
                                                          Though It took some adjust,                                 Owes the benefits of ee-
    frionihe'rn"wboutm'sela-mmiedie                      personal saclike*. Efthymiou f                    1 sources evadable in the Office of
                              the neter34
                                      tRmtilYMmesat'd                                                          alt pt:asrtiiii.seProgrp,     esc toalstot has
   flunk's secondary education) anas aware of pire in the army sod continued                   ,




                                                               vice as a senor;                                                     especu
   tho pride and honor that                                                                                                                                                                               MOWN 11
                                                                                                               ROTC program
   Mc ms from service            "The sire as that             tenant for a total
                                                                                                                  "I think the ROTC program                     Robert Morn Guniersseendary Eli/cation) was
     He also &Int want -                                                  years.
   nor had the funds -to               comes fro m not                      One of harder,                             es jog really cool stuff,'               deployed three tones before coming to Penn Stith.
                                                                                                                           ion said "I guess it pre -
          coney-                       having con tut over                EttinTalou had
                                                                                                                         you for getting put into the                      don of personal tales that future st
     -I   warted nothing to                                               with was the los,. ..                                                                            will study Art pieces of any Intrust
     "ilk college at the
   di,                                 what happens...                    pendence.
                                                                                                                       t of it while you ,i.arinre.geint,ting_ an educe.
   Um, - Moe, said. "I                                                                                                 which I
                                      That's soot ething                    'Being he the
                                                                                                                       rss, on the other hand, has taken ad-               genrellsk'47a1-:arldt°theestabstil'riehi'a
   didn't want anything to                                                you ntheilly gin,                                                                                          fall tot
   in with school. period"             that no one really                                                          Cage of the resources of the Office of dormitory °Pike, available
                                                                                                                *terms programs and is currently cm,. help incoming students who don't
     Not wanting to be the            talks abou t."                      sold -They can do
                                                                                                                pitting a work-study there.                                anyone and a place to live in their first
   typaal Reno. Nevada                                                    ever the t"'   the:.
   reselents   who                                      no..1 eorom                                        t       "Coming here, finding a job where there                   'We've had several veterans that
                       'five                                              and that's it. Abu
                                                                                                                                                                           10 Kh.Ot here, especially is the fa
   there and    dic there. -                                sot.=         [Mkt."                                are other veterans who get it, it was cool
                                                                                                                ts relate to some folks and some friends,-                 test who have gotten out of the mill
   %loess met with an Army                                                   Efthytnlou's n,                                                                                week before they start classes.' Fisk
                                                                                                                Morse said
  recruiter and began the                                                 also battled cancer                                                                              "It's nearly impossible to find alto
  process of joining the in.                                                                                      literans Outreach Coordinator, Mary
                                                                          he was enlisted
  !entry division.                                                                                               Lk understands how difficult the trathi housing in State College at this time
                                                         cause of the Limited amount of app:
                                                                                                  from military to academia can be. and Year"
     Inter. Mors: was offered a ranger con abseieas he was encored, he was only
                                                                                                    her position in the Office of Veterans     While these Programs are available
  tract with the Army and left home for the to Alit his mother before two of her                     amt to make the change as smooth veterans and military dependents,
  2nd Ranger Battalion - stationed in Rut gerims                                                possible                                     knows some veterans wont know
  Lewis, Washington                           When Efthyrniou decided be had g,
                                                                                                 (The transition1 ran         i                                where to go to access
    Be was deployed three times In his bur what be needed out of the army, he started            tough for some pen-             'Coming here.                 resources.
   years of semi,                                 to assess his options. Before leasir, the Its,'
     Before he put on the uniform. though =Mari; Efthymiou opened a beach bar                        Fisk  said.  "Some       finding    a job  where             According to
                                                                                              eople try to avoid it ...                                        it's 'very comf
   Massa knew he wasn't looking for a life- and later took a gap year to "decamps,;"
                                                                                                t it's going to happen          there are other                in the military If
  long ntnitary career                            and e>plore Europe.
                                                                                                 some point and ifs             veterans who get it,
     lime. I wanted a wile and lizis,'Illorss       dine coming to the United States for
  said kind of bad= idea that I waded to the first time to get an education.
  be a teacher. but I wasn't really         L' miod has had a 'difficult" college exceri.
                                                                                             generallY out got.i,lt°b'    wasre
                                                                                                                too comfortableleadership
                                                                                                                                it      cool to Late
                                                                                                                                                               serving are having
                                                                                                                                                                          uniiniduaLs
                                                                                                                                                               :seek out leadems.

     Ri5 experiences to uniform                   enee so far
                                                                                                The office. located in          to some folks and              they'll take rare of it
  those thoughts                                                                             325 Boucke Building.                                                  Further she
                                                    I get the classes and things like that.
                                                                                             features certified noun-
                                                                                                                                some friends."                 people who are ni,
     'After getting in. rm looking           at but getting back into... studying.. has
  an these people that sold their                                                            senors and a lounge for                                           help cant do eve
                                           the been vary difficult," Efthy-miou said
  militar:v and rm like. 'I dent         to be      In terms of social interactions, Efthy- an terans to study or re -                                         for veterans
  you Morss said                                 mama had some help due to the fact that                                                                           To Slums.
     -I appreciate )-our service *Slaw:eel- he was housed in Atherton Roll. where he            Programs available                                             campus ran
                                                                                                rungh the other                                                erans    by
  ate you because without you in wouldn't lived among epperclassmen                            ude a menh,r tutoring
  be as bee as we                                    'Air Lan older undergraduate studen                                                                       co
                          but that wasn't Illy                                                            a veteran -only career fair and a     "Everybody you pre
                                                 tra swi.mg harden- because t mint mat
    Owing his BM &pigment, be realised bond with Ruadereinssmenl, especial)                            -specific orientation.                wounds, their owe scars
 becamiog a high stheol history teacher freshmen because the age gap is ve                            also worked with the education de - mg with every day," Moms
 would be the omit step In his life journey     ferent.- Efthymiou said                                 t to create a first -year seminar you can use the tact that there's
   'at sort of all hit me the a ton of The 23 -year -old also found it diffi, t to f.                        for ex -military students that walking among you as a
 bricks" Moran said.       said 'When I get relate to some people in his high            ool to,        on the transition.                    there's some people that are
out rm goheg to go to college and getting class because they bad the abili               go                 by the book currently used in weight you cant even fathom."
my degree and being a high school history to college right after graduatin                               , Fist is working with the Penn
teacher -                                       miou recalled one of his friends             SLi        niversity Press to create a Penn                      era wnn-
   Dosing a recent assignment for his her master's degree before hi -                        State edition, which will contain a eolith -                  el. lir an Iffe,ar
"Eneish language learner" class. Morss freshman year of college.
drafted a leaser in English and Spanish to     -It feels like you're being le Pe
send to the parents of his future students, it sticks,' he said.
ecplainieg his teaching goals                  Despite these feelings, F. -in
  With enthusiasm in his eyes. Morss grateful for his post-hien sch.
highlighted parts of his letter which in- -wouldn't give it up for anytt 1.g.
eluded plans for parent student interac      'The army isn't for every., e
tian homework and moments in which he fine if that didn't work out it so
would dress up in costume to help stn- Efthy-rniou said. 'Don't feel Lan
dents learn                                       to (enlist). There are other oys
   He noted that he wants his future stn- hero or go to college"
dents to understand, they aren't limited
b+ only learning about history - they can            Accepting helping han
'inane it too                                        Efthymiou saw many you::, men.
   is the son of two teachers, he wants to out of the army 'traumatized and
       similar source of support like his par. people would understand th, phy
       are for him.                               mental strain the solitary puts on
     it h. the future in sight. Morss is ready adults.
           nett phase of his life.                   'People struggle in the army."
           n' impel" Moms said through a gi- -The stress that comes Iran just.
       iii!,    f cannot wait Ito be a teachers - in  there or not having contr.l os




                                                                                                                         , What                 is                  _                    dr
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                    Exhibit C
(Mural to Honor Veterans - July 29, 2020)
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    THE DAILY N                                                       Your Hometown Newspaper                                                                                          NFL:
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                                                                                                                                                                                    Camps open
                         ALL ACCESS                                                                                                                                                 with eye on
                                                                                                                                                                                      baseball
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                                                                                              to.
                                                                                             t1L2

                                                                                                                                                                                       Page 4            I

  Mural to honor veterans                                                                                                              County receives
 Petersburg Legion to unveil art during 100th anniversary
      BY JONATHAN
                                                                                                                                              hazard grant
     BF_RGMUF1 1 FR                                                                                                                          By KYLIE HAWN                 notion regarding the hazard
          Staff Writer                                                                                                                           Staff W slier             mitigation plan update fix
                                                                                                                                                                           the county before they sub-
   Don     Ma:Eaelvern held                                                                                                                 The Huntingdon County          mit it to PEMA for approve/.
several    ambitions (or the                                                                                                           Commissioners. during their            "Every municipality is
Cloyd K Davis American                                                                                                                 weekly meeting Tuesday.             required to have a plan, but
                                                                                                                                       approved a grant from the           the county is doing a cottnly-
Legion Post ISO in Peters-                                                                                                             Federal Emergency Man-              wide plan. and we include
burg while he served as in                                                                                                             agement Agency (FEMAt               all municipalities in this plan
commander       from     201.1.-                                                                                                       regarding the hazard mitiga-        so they can adopt it: said
3318.                                                                                                                                  tion grant that wdl be used         Thompson. "This is so if
  Over the course of his ten-                                                                                                          to  fully pay for the coun-         funding becomes available
ure. the Legion's new board                                                                                                            ty's haaud mitigation plan           for disasters) or frr insur-
of dims -tees achieved many                                                                                                            update for 2020.                    ance purposes, they can get
gosh. which included pay-                                                                                                                  -This has been a two-year       MOM) Of residents can save
ing off a mortgage, updating                                                                                                           process." said Joe Thomp-           on insurance"
the bar. putting in a new heat-                                                                                                        son. the county's emergency           Jim Leniere, Huntingdon
ing system and other routine                                                                                                           management agency director.         County Planning Director.
accomplishments,                                                                                                                       "It's taken a lot of hard wark.     also had this USDA Rural
   But one goal that fell by                                                                                                           not only from FEMA. but             Homing Historic Piaci-
the wayside was commis -                                                                                                               from PE2tIA, the planning           %anon    Grant agreement
                                                                                                                                       department. EmA and com-            appeased for $71,718.23.
skeins a mural to celebrate
veterans along the back wall                                                                                                           missioners, to complete."             "This     is   countywide
                                                                                                                                          The Tecifie grant is from         rehabilitation of hornet" he
of the poses social room.                                                                                                              the 2020 fiscal year from the        said.   'This was originally
where the cagraimOon has                                                                            nolo liglOMAMAN IngtOMUIELLIX
                                                                                                                                             Department of Hotne-           supposed to be used by Sep-
its meetings-                      Penn State students Alyssa Lyons and put the finishing touches on a mura land Security for $52500                                        tember 2020. but this will
   MacEachem said every-           dedicated to veterans of the armed forces at the Cloyd K. Davis American which will pay for the entire                                   be extended until September
where he turned, be could not                                                                                                                                               2021 We want to work on
                                   Legion Post 150 social room in Petersburg. The mural will be unveiled during cost of updating the plan and
find artists willing or able to                                                                                 hiring Michael Baker Inter-                                 about five homes for emer-
                                   a 100th anniversary celebration Saturday, Aug. 1.
do it.The Juniata Valley High                                                                                                          national, a consulting firm. to      gency rehabilitation. which
 School bad several limita-        who served under Don while         the man, Robert Morss, said,       World War II, the Korean      help update the plan.                includes an immediate need.
 tions involving liability and     he was commander, works at         recalling that meeting for         War, the s imam War, the         -Wc were able to find             Like a health and safety threat,
required the students work-        Penn State University as an        The Daily ,Vews.                   Persian Gulf War. Sept. II,   this funding source through          a borne is without vital ser-
ing on it during school hours.                       professional.       Mons. a U.S. Army vet-          2001, and the wars in Iraq    a federal disaster    declara-       vices or a sudden mechanical
                                   administrative
which prevented it from            She visited a see. icewoman's      eran. assembled a team of          and Afghanistan.              tion in 2018 due to severe           or structural failure"
being done. Professional m-                                           volunteers that began sketch-        The team painted      the    storms    across   the   state,"       Lettiere said they can get
                                   coffee hour and, ce the off-                                                                                                             started trrintediately and help
ists agreed to paint the mural,                                       ing out the mural. From its        mural throughout the past      said Thompson "The feder-
                                   hand. asked if anyone knew of                                                                                                            out those. mostly elderly.
but at a cost. which was not                                                                                      months between        al share is 540.000, and the
                                   someone willing to paint the       inception, the team planned        seserol
                                                                                                                                                                            who have immediate needs.
a condition the Legion was                                                                                                              state share is S12500. which
                                   mural. \While no one expressed     to represent IS wars and con-      other obligations on an
                                                                                                                                        covers the entire cost."            He also noted that Center
able to meet. The mural went       interest. a man stopped her        flicts on the wall The Amer-       entirely  volunteer basis.
                                                                                                                                           Commissioner          SO=        for Community Action will
by the wayside until last fall.    before she left the gathering.     ican Revolutionary War, the
                                                                                                                See Mural               Walls added there are still a
   Shelley Ormsby, 13 -year           "1 said ... I think I can get   War of 1812. the American                                         couple of municipalities that
                                                                                                                                                                                      See Grant
United States Air Force veteran    your mural done for you."          Civil War, World War          I,             Page 2               still need to turn in infor-                    Page 2
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                                                                       After Phil
                                                                       college in
            Mural                   that kind of patriotism and
                                    remembrance," Morss said.
                                    "This was a no-brainer for
                                                                       finally set
                                                                       eymoon: a
         Continued from Page                                           month ct,
   In addition to Morss, one me."However, Morss also                   try road tr
   other volunteer is a veteran:                                       which th
   Adam Paton. Sean Galla- wants to be a high school
                                    history teacher after he
                                                                       the west
   gher. Alyssa Lyons, Dovile                                           States in
   Drozdovaite also helped.         leaves school. He hopes the         swagen
   However. Morss attributed a      mural can be used to educate        their two
                                    the next generation.                   In
   lot of credit to Shae Rider,        "If we can capture that
   who specialized in depict-                                           enlisted
                                    within this mural, within 20        Army,
   ing soldiers' faces on the       feet of historical content,         basic tr
   mural.                           hopefully a lot of people are        in New
        "She's got most of the      going to walk away with the          station
  raw talent," Morss said. "I       message, 'This all took place        Army
  could focus her talent and        so that I can live in this coun-     where
  she could just put something      try and be free and be a bet-        cal re
  beautiful on the wall."           ter person,"' Morss said.            micro
     In addition to volunteer-         "I think it's fantastic what      orable
  ing their time and talent, the                                             Phi
                                    they're doing," MacEach-              school
  group contributed its own         em said. "When I found out            Colleg
  supplies to paint the mural.      (Morss and Paton) are vet-            Medic
  Morss said Rider, especially,     erans, it makes it more spe-          1977.
  brought the bulk of paint and     cial."                                his inti
  tools to paint the mural. The        "He is just a ball                 ids Os
  mural cost Legion members         energy,"   Ormsbyr said of             CirAiV
  next to nothing, aside for the    Morss. "He is so passionate
  occasional refreshment pro-       about this."                           ing f
 vided for the painters. The            The mural will be unveiled          Publi]
 element of service behind          at the Cloyd K. Davis Amer-             whirl
 painting the mural acts as         ican Legion Post 150 at 117             an&
 motivation for the end -prod-      King St. in Petersburg. The              serv,

 uct.                               unveiling ceremony, which                phy'
    "I'm just blessed to       be   will begin at noon, Saturday,
                                                                                the
part of it," Morss said.            Aug.1, is open to the public.
                                                                                 Alt
   Morss' inspiration comes         Immediately following the                    tio
from'the fact he feels a sense      ceremony, the post will cele-               Me
of heritage with America            brate its 100 -year anniversa-               in
and the wars the team has           ry since its founding, during                at
depicted, him having been            which food and drinks will                   vi
deployed to Afghanistan. He          be provided to community                     in
understands the sacrifices of        guests.                                      ti
those who often come to the             Jon can be reached at                     d
Legion.                              jbergmueller@huntingdon-
   "My soul is bound to              dailynews.com.                               fa
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                  Exhibit D
(Legion Mural a Testament to Service)
           July 29, 2020
   Case 1:21-cr-00040-TNM Document 89-1 Filed 07/14/21 Page 9 of 25




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  Alt
 S1.2;
             'C Copyright 2020                                         FRIDAY                                                                  July 31,


Legion mural a testament to service
Petersburg Post 150            Petersburg American Legion Post                                                                ing in the Oint.a of Veterans Pro-
 o mark centennial             150.                                  "Between those panels Is an evolution                    grams on campus. end during a
                                 A 2Ci-foot, 10 -panel mural, with                                                            petberir.g of tamale Vet     he
voth weekend event         each panel representing the major         of warfare with different scenes that                                                try'
                                                                                                                              overheard OratebY talk a
                           wars the United States has fought         capture the heroic and patriotic moments                 ing to get a mule painted.
 Rick Boar.                since the Revolution. is set to be        of our nation's history."                                    l could hear what they
                           dedicated at a ceremony marking                                                                     saying and at one point I
                           the post's centennial. beginning at                  Robert Morss, senior education major at PSU    someone mention that alt
PETERSBURG - Art overheard noon Saturday.                                                                                      trying to get a mural pain
-trersation among a group of Shelly Ormsby, post treasurer, "I asked around, but we couldn't education major at Penn State's that nobody was an. to
!:tan' women has led to the said the legion has wanted to have make it happen," she said.                                    Jitorss said
 htttion of a therm for the a mural painted for some thne.                                  University Park campus.
                                                                Enter Robert Morss, a senior in November, Morss was work             See Moral/Pave AS
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 Friday, July 31, 2020                                                          LOCAL


MURAL: To inspire next generation
 (Continued from Page Al)
  Morss said he went back
to doing his homework and
when the meeting was over,
he approached Ormsby.
  "I said, 'My name is Rob-
ert Morss and I think I can
get that done for you,'" he
said. "We have been work-
ing on it since then."
  For Morss, 27, of Reno,
Nevada, working on the
mural is personal. A four-
year veteran of the United
States Army, Morss said it
is a way for him to honor
those who have come before
him, while setting an exam-
ple for those who will fol-
low.
 Morss said the mural
begins with a scene of sol-
                                                                                                      Courtesy photo
diers standing around a
                     Forge Adam Paton (left) and Robert Morss work on the 10 -panel war mural at the
and ends with the pres- Petersburg American Legion Post 150. The mural, depicting scenes from every
ent-day conflict in Afghan- major war America has fought since the Revolution, will be unveiled to the
istan.                      public at noon Saturday.
 "Between those panels
is an evolution of warfare watch it come to life as      after the Military Inte- ing up. We have left plen-
with different scenes that people have joined in," he    gration Act, and the first ty of room on the wall for
capture the heroic and said. "I am grateful for the      female combatant, a pilot in more panels to be inserted.
patriotic moments of our support I have been getting     the Gulf War.                  America is not done fight-
nation's history," he said. throughout this journey."      Morss said the mural ing wars to protect its peo-
 Enlisting the help of some Morss said the panels        will stand as a testament to ple and its lands, and the
of his Penn State peers, not only show America's         everyone who has served, next generation is going to
Morss said the process of battles, but also historical   and those who will one day have to do that. I want this
bringing the mural to life milestones in military evo-   serve.                         mural to inspire them and
has been a humbling expe- lution.                          "It's about honoring those challenge them."
rience.                      "It shows an African        who have come before us,"
  "It has been a beautiful American soldier fighting     he said. "It is also about the  Afirror Staff Writer Rick
thing to sketch it out and alongside white soldiers      next generation that is com- Boston is at 946-7535.
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                   Exhibit E
(Veteran Unveil Mural -August 4, 2020)
         Photos of Unveiling
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)AILY NEWS
                                                                                   111
                                                                                                                     AILB:
Your flonietown Newspaper                                                                                        Shorter double-
                                                                                                                headers may ease
                                                                                                                scheduling chaos.
                                                                                                                     Page 4
                            Ig22




         Veterans unveil mural
         Petersburg Legion celebrates 100th anniversary
  By REBECCA BERDAR
    For The Daily News

   The family of veterans and
supportive patriots which has
grown up around the Cloyd K.
Davis American Legion Post
150 in Petersburg assembled
Saturday to commemorate the
post's centennial by unveiling
a mural chronicling the battles
and sacrifices that have shaped
the nation and preserved       its
principals.
   The 10 -panel painting pays
tribute to America's war vet-
erans who served over the past
244 years, from the Revolu-
tionary War to the battles in the
Middle East.
   The lead artist, Robert
Morss, hails from Reno, Neva-
da, and served three tours in
Afghanistan as an U.S. Army
Ranger. He's now a Penn State
University student, slated to
graduate in the fall with degrees
in secondary education, history
 and political science.
    Moms recruited fellow Penn                                                                                  Pinto by REBECCA BERDAR
 Staters to work on the mural,
                               Mary Ann (Davis) Metz, niece of American Legion Post 150 namesake Cloyd
 which was the brainchild of for-
 mer Post 150 commander Don K. Davis, unveiled the first section of a 10 -panel mural which was dedicated
 MacEachern. The crew initiat- Saturday during the post's 100th anniversary.
 ed their project in November        said. "For 100 years, this place   and it will stand for another 100
 by sketching out the panels and                                                                            in the dead of night. as Gen
                                     has stood to be a safeguard for    years:'                             George Washington sits astride
 started putting paint on the wall
 in January. The group, which
                                     veterans, wandering souls and         Shelly Ormsby, Post 150          I horse in the distance. The
                                     for those who need a place to      treasurer, served as emcee and      honor of unveiling this panel
 trekked back and forth between      call home:'                        introduced the community
 State College and Petersburg                                                                               was given to Mary Ann (Davis)
                                        Moms thanked Post 150's         members who were selected to        Metz, niece of Post 150's name-
 for seven    months,    finalized   members and officers for their     unveil each of the panels.          sake Cloyd K. Davis.
 the mural Friday morning just       stewardship over the past cen-        The first panel in the series,      The second panel honors the
 ahead of Saturday's celebra-        tury.                              dedicated to the American Rev-
 tion.
                                                                                                            War of 1512 between the Unit -
                                        "I am proud of this Owe, -      olution. depicts a trio of Conti-
    "It's been a honor falling in    he said.   knew this was hal-      nental Army soldiers warming                 See Mural
 love with this Legion," Morss       lowed ground when I arrived ..     themselves around a campfire                   Page 3
           Case 1:21-cr-00040-TNM Document 89-1 Filed 07/14/21 Page 13 of 25




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                                77375,74g1Wil.

                It sit `. NEWS, HUNTINGDON,
                                                           PA                                      CO6Z NEWS                                                                   TUESDAY, AUGUST 4, 2020                     3




                                                                             --                                                            man b Re net. were,
      Ahand-nalntled mural now stretches 10 panels across a wall In the meeting room of the Cloyd K. Davis American Legion Post in Petersburg and stands as a
      tribute to Veterans from all American wars. The mural was the brainchild of former poet commander Don MacEacham and was executed by a team of Penn State
      students.

                Mural                      also a Purple Heart recipient
                                           and served at Post ISO's first
                                           commander.
                                                                                Star families out there that can
                                                                                tell you the real cost of free-
                                                                                                                     U.S Army right oat of high
                                                                                                                     school
                                                                                                                                                              -Second, I challenge you to
                                                                                                                                                          life a fife worthy of their sacri-
                                                                                                                                                                                               mats A Mean Blanc (dacrip-
                                                                                                                                                                                               titan). The canonry was pinned
          Commuted horn Page 1                                                  dom "                                   MOM hunself unveiled the          fice," Mons said.                    down for about four bouts by
                                             Shelly Ormsby explained               Moro said the focus of the        final panel which honors vet-            Other menhirs of the artis-      the Germans ca this barren
      ed Slates and England. Moms
                                           Hoffman was shot in France           Vietnam War panel. an .tfrican       erans of the wars its Iraq and       tic team were Air Force veter-       spoofs of land with ocly stat-
      card the perspective is that of      and was nursed to health by a        American soldier. represents         Afghanistan Mons dedicated           ans Adam Pates and Sean Gal-         ical weeds for cover, when
      Francis Scon Km. author of the       funny on a nearby farm. She          the realization of the ',Inlay       the panel to his fellow Rang-        lagher, plus Shae Rider, Doville     they were attacked by a German
      nom which world become the           aid he received a chest wound        Integration Act.                     ers, in pueicndar Sgt. Thomas        Drodsdevin and Alma Lyons            *Malt which strafed the Amer-
      -Sur-Spangled Hama" Key              which might have proven fatal
      was held aboard a British ship
                                                                                   "White and Black fought           McPherson, billed in action at          Tor me. it was a good             icans with machine gun fire. M
                                           if not fora notebook he kept         side -by -side, spilling the same    age 26 during heavy firefight in     opportunity to put myself into       this mccoent. David paid the
      during the Bade of Baltimore,        in his pocket which slowed the                                                                                                                      wane sacrifice for his coun-
                                                                                color of blood." Mons Said           Gharal Province Oct. 12,2012.        the painting." Paton said, add-
      Sept 13-14. 1814. Key was            bullet.                                 Nut, Scott Hearn, who                "There ate a lot of Easter        ing he anted his panel, the one      ty
      inspaed by his arty morning             Nat, World War II veteran         sena in the U.S. Army for eggs hidden hr these panels."                   dedicated to the Gulf War, to           Davis was initially buried in
      new from the ship of the Amer -      Lloyd Morningstar unveiled           21 years, from June 1932 to          Mons said, eacomagrag the            sax as a shout -out to utopia        the Meuse -Argonne Cemetery
      an flag still waning ova Fort        the moan World War 11 pane           November 2005. unveiled the          audience to take a Area look.        personnel Isle himself.              in France, then reinterred close
      McHenry following the night-         which depicted an American           eighth panel, dedicated to the       For example, the coostellatice          Following the pmenatioo           to brae in the Mooresville
      time bombardment                     pilot's cockpit view of the lap-     first Gulf War. Mass shared          seen overhead in the night sky       of the mural, the Post 150 fami-     Cemetery in West Township in
          Veteran Glee Metz who            ItOeSe fleet at Midway. Morn-        that the panel honors female         of the first panel, is the same      ly conaued to honor the post's       1921.
      Ormsby said hasn't missed a          ingstar, a Navy veteran, served      combatants by depicting a            one in the sky In the last panel.    hisery with a social framing               TbeCloyd K. Davis Post 150
      Post 250 Memorial Day obser-         in the Pacific ;Theater of Opel --   woman pilot and also the sup-        Each panel also shows the eNn-       live music, home -cooked food        was chartered Aug. 1, 1973, less
      MICC in close to 50 years,           Mons and participated in the         port perscenel working behind        hada% of arms, from the mus-         andpieety of fellowship.             than we year after Congress
      reveled the panel.                   assault and occupation of Oki-       the scenes.                          kets of the Revolutim to the             The posts namesake. Cloyd        chartered the American Legion
         The third panel in the series,    nawa Guoto in lane 1945.                The ninth panel portrays          state-of-the-art weaponry with       K. Davis, was killed in action       organization Post 150 held its
      dedicated to the American              The Korean War panel was           the immediate aftermath of           which today's combatants are         Oct. 4. 1918, at Moot Blanc.         first meetings in the homes of its
      Coil War. was unveiled by Bill       unveiled by Post 150 histo-          the Sept 11. 2001. terrorist cquiPPcd-                                    France. Davis was 23 years old.      officers and directors, then set-
      Lightner whose gran -grandfa-        rian Glen Butler. The panel          attacks, with smoke billowing           Mons pointed out that each           Born Dec 30, 1893. in the         tled into the Odd Fellows Hall
      ther Peter R. Rimert, saved in       shows Mariner In position on         from twin towers of the World        panel shows Kama bolding             Shavers Creek Valley, the son of     abase the cad US. Post Office
      the Union Army as an intim-          the float lines as the sun rises     Trade Center in New York City.       or taxying a book. He said           Elmer and Ella (Kocher) Darts        Meetings were suspended front
      *man witb Company C, 45th            ova a snow-capped mountain           For this panel, the artists incor-   the bock is Tat to inuapre.          end brother of Earnest and Earl       1941 through 1945 whik Amer-
      Regiment The mtual image             in the distance.                     porated the Coast Guard ship         nation and could be a Bible to       Davis. He grew op on the fai-        ican was again at war. Post 150
      shows a Union soldier embrac-           The Vietnam War panel             Juniper which oinkied aid in         represent someone's faith or a       n), farm in West Township and        reamed its activities in 1946
      ing a dying Confederate soldier.     MIS unveiled by Don Butler.          the New York City area fol-          manual of rules arid regulations     attended    Petersburg schools,          Post 150 relocated several
      Mons said the artiste team           a veteran of that war. The           lowing the attack. Onboard that      which speaks to task and pur-        graduating in 1914. According        times, occupying the second
      delflxrately made the two men        panel shows soldiers on patrol       ship was Shelly Ormsby's hus-        pose as a member of the armed        to a Dec. 2, 1918, report in the     floor of Anderson Home and
      Ica similar to signify bow the       through a lush jungle land -         band, Brett, who had the honor       services.                            Aboona Tunes Davis gradu-            Supply in Petersburg and Eva
      war ritled brother wan' st baptis-                                        of unveiling the panel.                  Mons presented two chal-          ated from Juniata College in         Kirkpanick's store room before
      m                                        Butler said the experierace         Mons said the panel is tided       lenges so the mighty 80 pa-          1917 and enlisted with the US -      building a home all its own. Post
          The    fourth panel     non-     of warfare and its effects are               Day the Weald Stood           wns in atteodance. Speaking          Madre Corps lime 29. 1917, in        150 purchased two and one-half
  , as those who fought during             difficult to grasp by those who      Still" and shared bow be, as a       as a future history teacher.          Akan.                                lots on King Street in Peters-
    World War I and depicts a              haven't worn a uniform or            third grade student, watched         Morris first challenged the              He saw his family for the last    burg in 1961 and started reno-
  - acme out of the trenches.              who wait close to someone            the second plane hit the WTC          audience to do their part in edu-    time during a three-day leave        vating the property July 17 of
    The panel MIS unveiled by              who ha                               live on tekvision The attacks         cating upcoming generations          prior to chipping out for France     that year Post 150 has remained
      Regina Ormsby whose father,            ies important foe us to            led to the mood Gulf War and          shout the nation's history and       Sept. 22. 1918.                      u this location ever since.
      Charles M Hoffman, was a             undastsed the enormity of the        subsequent conflict in Afghan-        the many and sorted sacrifices          can Oct, 4, 1918. Cloyd and             Rebecca can be reached
      sergeant   in   the US. Amy          sacrifice." Butler said. 'There      istan   which Mons himself            made by veterans to cocain the       his company were positioned in       or  dnessse hutuingdondady-
      during the Great Wan He was          are Mel of thousands of Gold         would join as a member of the         ohm's preservation.                  a skirmish line against the Geo      nen,COna
       art       L1- L                                                      1
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                    Exhibit F
 (Letters from Penn State University)
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                                Collor of Lduciewn                                         to III416i-I92/
                                The Peonol%ants State     nv,trfilly                       *MY td ow WrAlucisik
                                 TO Chamber+ Building
                                TIM erlitk Park. Pk 1e12-3205




                                                                                           Timothy D. Larouere
                                                                                           2156 Robin Hood Drive
                                                                                           N. Huntingdon, PA 15642

  December 11, 2020

  To Whom It May Concern:

  I am pleased to write a letter of recommendation for Mr. Robert Morss. Mr. Morss completed his
  student teaching experience in Secondary Social Studies under my supervision during the fall semester
  of 2020 at Shaler Middle School in the Shaler Area School District.

  Mr. Morss was an exemplary student. He was very professional in his duties as a student teacher and
  strove to meet the needs of all of his students regardless of their ability level. He had a wonderful
  classroom presence and developed a great rapport with his students, all of which translated into his
  creating a positive environment that was conducive to learning. One of his greatest attributes was his
  ability to prepare and plan. Robert planned very creative activities to support student learning. He
  consistently incorporated a variety of technological strategies into his daily lessons. Communication
  was a strong point for him. He effectively used verbal, nonverbal, and media communications to
  enhance his lessons.

  Robert exhibited true professionalism. He met regularly with his mentor and other eighth grade team
  members to discuss teaching techniques and strategies. Robert would frequently infuse relevant
  community and school characteristics into his lessons. He reflected well on lessons taught, and always
  tried to improve himself as an educator.

  Mr. Morss has achieved exemplary ratings and evaluations. He is very motivated and maintains a high
  level of professionalism. Robert will be an outstanding teacher, and I recommend him to you without
  hesitation. If I can be of further assistance, please do not hesitate to contact me at 724-863-0134 or
  td112@psu.edu.

  Sincerely,


  Timothy D. Larouere
  Supervisor of Student Teachers
  Penn State University
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                                                                                       201 Old Main
                                                                                       thuverisry Plik. PA 16g02




     Dear Penn Stater:

            On Saturday, December 19, 2020, for the 396th time, we will celebrate the
    accomplishments of the men and women who have completed their academic programs at Penn
    State. As a result of the COVID-19 pandemic and public health guidance to limit large
    gatherings and maintain social distancing, we will be celebrating with a virtual ceremony. The
    Class of 2020 has experienced a period that will change our nation and our world. You have
    demonstrated an inspiring level of creativity, strength, resilience and maturity-all skills that will
    contribute to the betterment of humankind. You are to be commended for your good works and
    goodwill as you adjusted to profound changes over the past several months.

             On behalf of Penn State, I want you to know how much we will miss sharing our fall
    commencement in person with you and your families. However, we're pleased that we can still
    acknowledge this important milestone through a special ceremony that will be streamed online at
    https://fal12020.commencement.psu.edu/ on Dec. 19 at 2 p.m. EST.

            Although this is a departure from the traditional ceremony that dates back nearly 1,000
    years, no commencement is complete without one ancient symbol of our medieval past: the
    mortarboard and tassel. We hope that for the virtual ceremony on December 19, you will wear
    the enclosed mortarboard as nearly 900,000 Penn State alumni have in the past, so that you may
    move your tassel from right to left when your degree is conferred.

             Commencement is a joyous time, and as college graduates, you will be joining an elite
    group of individuals: only 39% of Americans over the age of 25 have earned a bachelor's degree.
    For about one-third of our Penn State families, this will be the first time a family member has
    earned a college degree. We are incredibly proud of each of you and urge you to be part of our
    livestreamed University -wide commencement.

            I hope you feel a sense of accomplishment-not only for your own personal successes,
    but for all you have contributed to the larger community. To the Class of 2020, I offer my
    heartfelt congratulations. You are an important part of the Penn State family. I hope you'll join
    us online on December 19, 2020, and we'll look forward to seeing you back on campus when we
    can safely celebrate your accomplishments together.

    Sincerely,

                 -g        -
   Eric J. Barron
   President, Penn State
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                   Exhibit G
     Letter of Recommendation from
Shaler Area Middle School, Glenshaw, PA
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                         Shaler Area Middle School
              1810 Mt. Royal Boulevard, Glenshaw, PA 15116 412 492.1200 www.sasd.k12.pa.us
 iiiiii.....111111111111=1.11111.111,
 Eric &mat, Ed.D.                                                                                 Shannon M. Howard, Ed.D.
 Pnncipal                                                                                                    Awstant Frriopa'



        December 2, 2020

        To Whom It May Concern:

                 It is with great pleasure that I write this letter of recommendation regarding the professional
        competencies and personal attributes of Mr. Robert Morss. As Robert's supervisory teacher, during his
        student teaching experience, I observed and mentored him throughout the fall semester of the 2020-2021
        school year.
                 Mr. Morss exhibits poise and confidence in the classroom. Ile was outstanding in the areas of
        class preparation, lesson pacing, attending to student learning need,. arying teaching methods to reach all
                                                                              N


        learners and classroom management. Mr. Morss's computer and technological knowledge proved to be an
        enormous asset to my classes as 2020-2021 school year has been year of many challenges. Robert has
        helped our department design and implement a hybrid and remote curriculum to facilitate the needs of
        students and families as we navigate the pandemic. His knowledge of Apple products and their
        applications as well as his mastery of Microsoft products and their use as a tool in the classroom has been a
        tremendous asset during this challenging and evolving time for education. Robert has also taken part in
        planning and implementing of our departments Historical Thinking and Social Studies C3 Framework
        lessons. Robert's content knowledge has also been an asset when helping to plan and implement
        Pennsylvania's Core Standards lessons and navigating through the pandemic.
                  During his time in my class, he has made remarkable progress in the critical areas of classroom
        management and lesson design. What makes his progress stand out is that he has taught students of all
        levels. These classes consist of gifted students as well as students with special needs and learning
        disabilities. The class sizes varied from 18 to 30 students. He worked with each group and made the
        necessary adaptations and accommodations to ensure the success of each individual learner. Mr. Morss's
        desire to go above and beyond his classroom duties is demonstrated by his willingness to design lessons
        highlighting his own military experience for a 9/11 lesson and dressing as Robert Morris and recording an
        interview for the students to gain an understanding of the sacrifices made during the Revolutionary period.
        His competence, dedication, and professionalism are unquestionable. Robert's positive attitude and
        dedication to his career has been an incredible asset to my classroom during his experience.
                 Without reservation, I urge you to consider Mr. Robert Morss for a teaching position in your
        school district. He is sure to become a positive attribute to your district and the teaching profession.

                                                                          Sincere


                                                                          Thomas . Gray
                                                                          Activities Director
                                                                          Social Studies Department Chair
                                                                          Social Studies Teacher
                                                                          grayT@sasd.k12.pa.us
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                   Exhibit H
                    (Family Photos)
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